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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                                    )
P.J.E.S., A MINOR CHILD, by and through his         )
father and NEXT FRIEND, Mario Escobar Francisco, )
on behalf of himself and others similarly situated, )
                                                    )
                                                    )
Plaintiff,                                          )
                                                    ) No. 20-cv-02245-EGS
v.                                                  )
                                                    )
CHAD F. WOLF, Acting Secretary of Homeland          )
Security, in his official capacity, et al.,         )
                                                    )
                                                    )
Defendants.                                         )
                                                    )


  MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR CLASSWIDE
                  PRELIMINARY INJUNCTION
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                                       INTRODUCTION

       Plaintiff P.J.E.S. is a 16-year-old boy from Guatemala who fled to the United States by

himself (and so is deemed by statute an “unaccompanied minor”) and was apprehended by U.S.

Customs and Border Protection (“CBP”). Under longstanding safeguards in the immigration

statutes for unaccompanied children and asylum seekers, P.J.E.S. was entitled to various

protections—including expeditious transfer from CBP to the care of the Office of Refugee and

Resettlement (“ORR”), release to his father in the United States as soon as possible, and a full

hearing before an immigration judge on his asylum claim. Instead, Defendants moved to

summarily deport him based on an unprecedented and unlawful Order issued by the Centers for

Disease Control and Prevention (“CDC”) authorizing the expulsion of unaccompanied minors

without any hearing, even where, as here, the minor has no symptoms of COVID-19.

       While Defendants have now agreed not to expel P.J.E.S., they have already expelled at

least 2,000 unaccompanied children pursuant to the CDC Order, which is based on the

government’s supposed expulsion powers under the public health provisions of Title 42. And

more children face the same fate every day. Plaintiff therefore respectfully moves this Court, in

conjunction with his previously filed motion for class certification, for a preliminary injunction

barring the expulsion of any unaccompanied child under this new, unlawful deportation system. 1




1
  Because the Named Plaintiff was subjected to the Title 42 Process when the class complaint
and class certification motion were filed, the Court can certify the class and issue class relief.
See J.D. v. Azar, 925 F.3d 1291, 1311 (D.C. Cir. 2019). Plaintiff respectfully requests the Court
to resolve both the pending Motion for Class Certification and this Motion together. See ECF
No. 2 (Motion for Class Certification); see also Damus v. Nielsen, 313 F. Supp. 3d 317, 328-35
(D.D.C. 2018) (explaining that plaintiffs “need only provisional class certification in order for
the Court to grant their preliminary injunction,” and describing standards that govern provisional
class certification).


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          The government’s new Title 42 expulsion process, based on a new regulation, several

iterations of the CDC Order, and an implementation memo (hereafter collectively the “Title 42

Process”), is patently unlawful. Judge Nichols in this District has already found the Process

likely is unlawful in the only ruling thus far on the issue. See Kang Decl., ECF No. 2-2, Ex. D,

(Transcript of June 24, 2020 Preliminary Injunction Hearing and Oral Ruling) (hereinafter

“J.B.B.C. PI Ruling”); Order, J.B.B.C. v. Wolf, No. 20-cv-1509, (D.D.C. June 24, 2020), ECF

No. 38.

          Judge Nichols’s decision is correct, for at least two reasons. First, Title 42 does not

authorize deportations at all. Rather, it authorizes testing, and in extreme cases, detention and

quarantine. In short, Title 42 provides for public health measures. It is not a deportation statute.

Second, even assuming that Title 42 somehow could be construed to authorize deportations of

some noncitizens, it does not override later-enacted statutes protecting children and those

seeking protection. Indeed, Congress specifically addressed communicable diseases in the

immigration laws. Those laws allow the government to bar entry of some individuals with

communicable diseases, but it is well established that unaccompanied children and those seeking

protection must be provided the protections to which they are entitled, and may not be

automatically expelled even if they actually have a communicable disease.

          At bottom, this is a separation of powers case. The Administration has circumvented the

process created by Congress to deal with unaccompanied minors, those seeking protection and

those with communicable diseases. And, because of the government’s unlawful actions,

unaccompanied children are suffering and will continue to suffer irreparable harm. The Court

should therefore grant provisional class certification and a preliminary injunction prohibiting

Defendants from subjecting unaccompanied children to the Title 42 Process.




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                                        BACKGROUND

   A. Immigration Laws’ Protections for Unaccompanied Children

       Congress has carefully and repeatedly worked to ensure that unaccompanied children are

afforded unique, mandatory, and protective procedures when they face deportation.

       Specifically, two laws guarantee the children’s proper care and facilitate their efforts to

seek humanitarian protection. First, in 2002, Congress included provisions in the Homeland

Security Act (“HSA”) to “ensur[e] that the interests of the child are considered in decisions and

actions relating to the care and custody of an unaccompanied alien child.” 6 U.S.C.

§ 279(b)(1)(B). Through the HSA, Congress vested responsibility for the care of unaccompanied

children, including the provision of housing and access to legal services to pursue claims for

immigration relief, in the Office of Refugee Resettlement (“ORR”), a component of the

Department of Health and Human Services (“HHS”). ORR had demonstrated experience

working with vulnerable immigrants and refugees, and thus more suitable to oversee the care of

unaccompanied children than immigration enforcement authorities.

       Second, in 2008, Congress enacted the Trafficking Victims Protection Reauthorization

Act (“TVPRA”), which strengthened those protections by creating specific mechanisms for

processing the claims of unaccompanied children who had claims for relief from removal.

Among those protections was that certain unaccompanied children, like Plaintiff here, should be

swiftly referred to ORR, which would then take responsibility for their care, and release them to

family members or other suitable sponsors in the United States. See J.D. v. Azar, 925 F.3d 1291,

1301-02 (D.C. Cir. 2019) (describing TVPRA statutory scheme and ORR shelter system).

       Thus, Congress has prescribed a careful and comprehensive set of directions to federal

agencies for how unaccompanied children should be processed and cared for upon their




                                                 3
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apprehension. See, e.g., 8 U.S.C. § 1232(a)(2)(C), (a)(5), (c)(2)-(3). Congress has also set forth

specific instructions concerning the procedures Defendants must follow before removing

unaccompanied children.2 See, e.g., 8 U.S.C. § 1232(a)(2)(A), (a)(5).

    B. The Immigration Laws’ Protections for Asylum Seekers

       More generally, Congress also has proscribed longstanding protections for noncitizens,

including children, seeking protection from persecution and torture. First, the asylum statute, 8

U.S.C. § 1158, provides that any noncitizen in the United States has a right to apply for asylum,

regardless of their status. See 8 U.S.C. § 1158(a)(1) (providing that “[a]ny alien who is

physically present in the United States or who arrives in the United States (whether or not at a

designated port of arrival . . .), irrespective of such alien’s status, may apply for asylum”). The

asylum statute provides a narrow list of bars to asylum., none of which apply here.3 Moreover,

Congress expressed a special concern with expanding access to asylum for unaccompanied

children by, e.g., exempting them from the one-year deadline that ordinarily applies to asylum

applications and preventing their removal to a “safe third country,” id. 8 U.S.C. § 1158(a)(2)(E),




2
  For children from “noncontiguous” countries, like Plaintiff P.J.E.S., Congress directed that
such children be expeditiously transferred to ORR custody within 72 hours. 8 U.S.C.
§ 1232(b)(3). For children from contiguous countries, i.e. Canada and Mexico, Defendants may
conduct a screening for them prior to transfer to ORR. Id. § 1232(a)(2)-(4). Children in ORR
care cannot be deported via fast-track proceedings, and instead must receive full removal
proceedings before an immigration judge, along with other statutory protections. Id.
§ 1232(a)(5)(D)(iii). The Title 42 process does not comply with the TVPRA’s mandates.
3
  The statute makes asylum unavailable to an applicant who, inter alia, previously applied for and
was denied asylum, id. § 1158(a)(2)(C) (previous denial bar); engaged in persecution or terrorist
activities, id. § 1158(b)(2)(A)(i) (persecution of others bar); id. at § 1158(b)(2)(A)(v) (terrorist
bar); id. § 1158(b)(2)(A)(iv) (national security bar); has committed certain crimes, id.
§§ 1158(b)(2)(A)(ii) (particularly serious crime bar), 1158(b)(2)(A)(iii) (serious non-political
crime bar); and who “was firmly resettled in another country prior to arriving in the United
States,” id. § 1158(b)(2)(A)(vi) (firm settlement bar).


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and providing them the opportunity to apply for asylum in the first instance before an asylum

officer in a non-adversarial setting, id. § 1158(b)(3)(C).

       Second, the withholding of removal statute, 8 U.S.C. § 1231(b)(3), provides that a

noncitizen “may not” be removed to a country where their “life or freedom” would be threatened

based on a protected ground. A grant of withholding is mandatory if the individual meets the

statutory criteria. INS v. Aguirre-Aguirre, 526 U.S. 415, 420 (1999). Congress enacted this

statute to “conform[] it to the language of Article 33 [of the 1951 U.N. Convention of

Refugees],” INS v. Stevic, 467 U.S. 407, 421 (1984), in several respects, including by making

withholding “mandatory” where the eligibility criteria are satisfied, INS v. Cardoza-Fonseca,

480 U.S. 421, 440 n.25 (1987), and by giving it broad application where the government seeks to

return a noncitizen to a country where he fears persecution, see Innovation Law Lab v. Wolf, 951

F.3d 1073, 1089 (9th Cir. 2020). Congress again outlined specific and narrow bars to

withholding of removal; none apply here.4 Notably, moreover, only an immigration judge can

determine whether a minor faces a risk of persecution and is entitled to withholding of removal

after full removal proceedings in immigration court. 8 C.F.R. § 1208.16(a).

       Third, protections under Convention Against Torture (“CAT”) prohibit returning a

noncitizen to a country where it is more likely than not that he would face torture. Article 3 of




4
  A withholding applicant who assisted in Nazi persecution is barred from withholding. 8
U.S.C. § 1231(b)(3)(B). The other bars address persecutors, id. § 1231(b)(3)(B)(i); particularly
serious crimes, id. § 1231(b)(3)(B)(ii); serious non-political crimes, id. § 1231(b)(3)(B)(iii); and
security and terrorism, id. § 1231(b)(3)(B)(iv).
        The Department of Homeland Security recently issued a notice of proposed rulemaking
for a rule providing, among other things, that the national security bars to asylum and
withholding of removal would “apply in the context of public health emergencies related to the
possible threat of introduction or further spread of international pandemics into the United
States.” Security Bars and Processing, 85 Fed. Reg. 41,201 (July 9, 2020). This proposed rule
has not gone into effect and is not at issue in this case.


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CAT provides that “[n]o State Party shall expel, return (‘refouler’) or extradite a person to

another State where there are substantial grounds for believing that he would be in danger of

being subjected to torture.” Convention Against Torture and Other Cruel, Inhuman or Degrading

Treatment or Punishment art. 3, Dec. 10, 1984, S. Treaty Doc. No. 100-20, at 20 (1988).

Congress subsequently implemented Article 3 of CAT. See Foreign Affairs Reform and

Restructuring Act of 1998 (“FARRA”) § 2242(a), Pub. L. No. 105-207, Div. G. Title XXI, 112

Stat. 2681 (codified at 8 U.S.C. § 1231 note); 8 C.F.R. § 1208.16-.18 (implementing

regulations). There are no bars to eligibility for CAT protection. See, e.g., Negusie v. Holder,

555 U.S. 511, 514 (2009). As with withholding, only an immigration judge, after full removal

proceedings in immigration court, can determine whether a minor faces a risk of torture if

removed from the United States. 8 C.F.R. § 1208.16(a).

   C. Immigration Laws’ Treatment of Communicable Diseases

       Congress has specially addressed communicable diseases in the immigration laws. From

the earliest days of immigration regulation, Congress has explicitly authorized the deportation of

individuals based on public health concerns. See Act of Mar. 3, 1891, ch. 551, 26 Stat. 1084,

1085. Similar statutes exist today. There are several “[h]ealth-related grounds” of

inadmissibility that authorize the deportation of noncitizens based on specified public health

concerns, 8 U.S.C. § 1182(a)(1), including if a noncitizen is determined to have “a

communicable disease of public health significance,” id. § 1182(a)(1)(i). Immigration statutes

also provide for medical examination and detention as part of immigration processing. See id.

§ 1222(a) (authorizing detention of arriving noncitizens who might have a communicable disease

or is “coming from a country or have embarked at a place where any of such diseases are

prevalent or epidemic,” but only “for a sufficient time to . . . subject [them] to observation and an




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examination”); id. § 1222(b) (authorizing physical and mental examination of arriving

noncitizens). But these statutes do not permit the summary deportation of children in violation

of the TVPRA, or deportation without a screening for persecution or torture.

    D. The Title 42 Process

       Announced by the President on March 20, 2020, the Title 42 Process is a new shadow

immigration system purportedly established under the government’s public health powers

codified in Title 42 of the U.S. Code. Specifically, in a series of agency documents, the CDC

has invoked 42 U.S.C. § 265 to bar and expel noncitizens who arrive at the border or enter the

country without documents.5

       Section 265 of Title 42 was first enacted in 1893 and was later reenacted in substantially

the same language in the Public Health Service Act of 1944. Act of February 15, 1893, § 7, ch.

114, 27 Stat. 449, 452; Public Health Service Act, Pub. L. 78-410, § 362, 58 Stat. 682, 704

(1944). It provides in relevant part that the Surgeon General may “prohibit . . . the introduction

of persons or property” from designated places where “by reason of the existence of any

communicable disease in a foreign country there is serious danger of the introduction of such

disease into the United States.”6 42 U.S.C. § 265. The penalties for violating § 265 include “a



5
  See Control of Communicable Diseases; Foreign Quarantine: Suspension of Introduction of
Persons into United States From Designated Foreign Countries or Places for Public Health
Purposes, 85 Fed. Reg. 16,559 (Mar. 24, 2020) (effective date Mar. 20, 2020); Order Under
Sections 362 and 365 of the Public Health Service Act Suspending Introduction of Certain
Persons From Countries Where a Communicable Disease Exists, 85 Fed. Reg. 17,060 (Mar. 26,
2020) (effective date Mar. 20, 2020); Extension of Order Under Sections 362 and 365 of the
Public Health Service Act, 85 Fed. Reg. 22,424 (Apr. 22, 2020) (effective date Apr. 20, 2020);
Amendment and Extension of Order Under Sections 362 and 365 of the Public Health Service
Act, 85 Fed. Reg. 31,503 (May 26, 2020) (effective date May 21, 2020); U.S. Customs and
Border Protection and U.S. Border Patrol “Operation Capio” Memo [hereinafter “CBP Memo”],
see Decl. of Adrienne Harrold (“Harrold Decl.”), Ex. E.
6
  This authority of the Surgeon General has been transferred to HHS and delegated to the CDC.
See 85 Fed. Reg. 16,559, 16,560 n.1 (explaining reorganizations and transfers of authority).


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fine of not more than $1,000 or . . . imprisonment for not more than one year, or both.” Id.

§ 271(a). Deportation is not an available penalty. See id.

       Shortly after the President’s announcement, the CDC published an interim final rule

providing that the CDC may prohibit the “introduction into the United States of persons” from

foreign countries. 85 Fed. Reg. 16,559, 16,563; see 42 C.F.R. § 71.40(a). Pursuant to this new

regulation, the CDC issued an Order to forcibly return asylum seekers back to the country from

which they entered, their home country, or another location. See 85 Fed. Reg. 17,060, 17,067.

The initial March 20 Order, which was set to expire in 30 days, was extended for an additional

30 days on April 20, 85 Fed. Reg. 22,424, and then extended indefinitely on May 20, 85 Fed.

Reg. 31,503.

       On April 2, 2020, CBP issued a memorandum describing the agency’s implementation of

the Title 42 Process, an effort it calls “Operation Capio.” See CBP Memo, Harrold Decl., Ex. E.

The CBP Memo clarifies that the only humanitarian protection provided under the Title 42

Process is limited to an inadequate CAT screening, and does not include screenings for

persecution. CBP Memo at 4. The CAT screenings, moreover, are not conducted by

immigration judges, and lawyers report that even these limited CAT screenings are not uniformly

undertaken, and when they are, they lack the most rudimentary procedural safeguards. See

Declaration of Linda Corchado (“Corchado Decl.”), ¶¶ 13-14; Declaration of Lisa Frydman

(“Frydman Decl.”), ¶¶ 32; Declaration of Taylor Levy (“Levy Decl.”), ¶ 6

       CBP Chief Operating Officer Mark Morgan testified on June 25, 2020, that over two

thousand unaccompanied children had been summarily deported under the Title 42 as of that

date. See Hearing on CBP Oversight Before the U.S. Senate Committee on Homeland Security

and Government Affairs 1:10:09 (June 25, 2020), https://www.hsgac.senate.gov/cbp-oversight-




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examining-the-evolving-challenges-facing-the-agency. Unaccompanied children subject to the

Title 42 Process regularly spend multiple days in hotels or CBP facilities while waiting for

deportation flights. See Interim Report on the Use of Temporary Housing for Minors and

Families Under Title 42 by Independent Monitor, ECF No. 873 at 8, Flores v. Barr, No. 85-cv-

04544 (C.D. Cal July 22, 2020) [hereinafter “Monitor Report”], Harrold Decl., Ex. H; see id. at

11 (describing an average of 4 to 5 days, and one child held in a hotel for 11 days). These

detention locations are not made public. Frydman Decl., ¶ 31; Corchado Decl., ¶¶ 5-8; Levy

Decl., ¶ 5. While children are sometimes allowed to call parents or other relatives, DHS officers

are usually on the line during those calls, and often prevent the children from disclosing any

information concerning their locations. Levy Decl., ¶ 5; Corchado Decl., ¶¶ 7, 10.

       Defendants’ court filings, news reports, and Congressional testimony state that

Defendants test all or “virtually all” children in its care for COVID-19 before expulsion, often as

a condition of their expulsion agreements with the receiving countries. See Dara Lind & Lomi

Kriel, ICE Is Making Sure Migrant Kids Don’t Have COVID-19—Then Expelling Them to

‘Prevent the Spread’ of COVID-19, ProPublica (Aug. 10, 2020), Harrold Decl., Ex. G.7 If the

child tests positive for COVID-19, the child is quarantined in the United States; only if the child

tests negative is he or she expelled under Title 42. Id.

       In short, the government has implemented this Title 42 process as an alternative

immigration system, ignoring the various protections for vulnerable noncitizens, including

unaccompanied minors, and deporting people with no hearings, purportedly under its Title 42

authority rather than the immigration system established under Title 8 of the U.S. Code.




7
 Available at https://www.propublica.org/article/ice-is-making-sure-migrant-kids-dont-have-
covid-19-then-expelling-them-to-prevent-the-spread-of-covid-19


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   E. The Proposed Class

       Plaintiff P.J.E.S. seeks provisional class certification and a preliminary injunction on

behalf of a proposed class of unaccompanied children subjected to the unlawful Title 42 Process,

defined as:

       All unaccompanied immigrant children who (1) are or will be detained in U.S.
       government custody in the United States, and (2) are or will be subjected to the
       Title 42 Process.

See ECF No. 2-1 (Plaintiff’s Memorandum in Support of Class Certification). There are

hundreds of unaccompanied children subjected to the Title 42 Process every month. See id.

Plaintiff’s counsel here, and immigration lawyers who work with unaccompanied children, have

collectively advocated for dozens of unaccompanied children facing expulsion under Title 42,

but those dozens comprise only a small fraction of the total number of unaccompanied children

expelled every month without contacting any lawyers or advocates. See Kang Decl., ECF No. 2-

2, ¶¶ 2-12 & Exs. A-C.

       P.J.E.S.’s story is emblematic of other proposed class members’ experiences. P.J.E.S. is

a 16-year-old boy from Guatemala. He comes from an indigenous Mayan family. He and his

family members faced death threats for his father’s political opinions. P.J.E.S. also was

threatened by gang members after he refused to join them. He was ultimately forced to flee

persecution and possibly death. P.J.E.S. journeyed to the United States to seek safety and to

reunite with his father, who previously fled Guatemala and currently resides in the United States.

See Complaint, ECF No. 1, ¶¶ 77-81; Declaration of Mario Escobar Francisco (“Escobar

Francisco Decl.”), ¶¶ 2-11.

       On or around August 11, 2020, P.J.E.S entered the United States. CBP apprehended him

and took him to a CBP facility in McAllen, Texas. At the time the Complaint and Class




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Certification Motion were filed in this case, P.J.E.S. was subject to the Title 42 Process and

faced imminent expulsion back to Guatemala. Stefaniak Decl., ECF No. 2-4, ¶¶ 1-3; Escobar

Francisco Decl., ¶¶ 10-11. After Plaintiff filed this lawsuit and his counsel met and conferred

with government counsel, Defendants voluntarily agreed to take him out of the Title 42 Process

and transfer him to ORR custody. Escobar Francisco Decl., ¶ 11.

       The Proposed Class Members are often fleeing circumstances of extreme danger and

harm in their home countries. Many unaccompanied children come from El Salvador,

Guatemala, and Honduras, where the danger to children is well-documented. Frydman Decl., ¶¶

5-20. Many are also eligible for various forms of humanitarian relief in the United States, which

the Title 42 Process stops them from seeking.

                                      LEGAL STANDARD

       On a motion for a preliminary injunction, a court must consider “whether (1) the plaintiff

has a substantial likelihood of success on the merits; (2) the plaintiff would suffer irreparable

injury were an injunction not granted; (3) an injunction would substantially injure other

interested parties; and (4) the grant of an injunction would further the public interest.” Sottera,

Inc. v. FDA, 627 F.3d 891, 893 (D.C. Cir. 2010) (internal quotation marks and citation omitted).

The first two prongs of the inquiry (likelihood of success and irreparable harm) are the “most

critical.” Nken v. Holder, 556 U.S. 418, 434 (2009). Where, as here, a plaintiff seeks

preliminary relief on behalf of a proposed class, the Court may grant provisional certification of

the class and issue classwide relief. See, e.g., J.D., 925 F.3d at 1305-06 (observing that district

court had resolved pending motions for class certification and classwide preliminary injunction

in tandem); Damus, 313 F. Supp. 3d at 328-35 (certifying class of detained asylum seekers for

purpose of granting preliminary injunction).




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                                           ARGUMENT

I.      THE CLASS IS LIKELY TO SUCCEED ON THE MERITS.

        The proposed class of unaccompanied children are likely to succeed on the merits of their

challenge to the government’s unprecedented process of subjecting them to rapid expulsion

under the supposed authority of 42 U.S.C. § 265. As explained below, § 265 does not authorize

deportation at all. But even if such deportations were permitted, unaccompanied children are

entitled to explicit statutory procedures and protections. Those specific, later-enacted statutes

control over whatever § 265 may authorize in general. Moreover, subjecting Class Members to

the Title 42 Process is arbitrary and capricious in violation of the Administrative Procedure Act

(“APA”).

        The only court to have considered these claims thus far recently held the plaintiff in that

case had demonstrated likelihood of success on the merits. Specifically, Judge Nichols held in

an oral ruling that:

        In my view, the plaintiff is likely to succeed on the question of whether 42 U.S.C.
        265 grants the director of the CDC the power the government articulates here for
        three related reasons. The first is that the statute authorizes the director of the CDC
        to prohibit the introduction of persons and property by its plain terms. There’s a
        serious question about whether that power includes the power also to remove or
        exclude persons who are already present in the United States. There are other
        provisions, obviously, in the immigration statutes that reference the power to return
        or to remove. The fact that Congress did not use those terms here, I think, is –
        suggests at a minimum that the power to remove is not granted by section 265.

        Even if the power to remove were read [into] section 265, the plaintiff has
        likelihood of success because the provision, in the Court’s view, should be
        harmonized, to the maximum extent possible, with immigration statutes, including
        those already referenced that grant special protections to minors and also those
        immigration statutes that deal with communicable diseases and quarantines.

        . . . The Court, in addition, does not believe that the CDC director is likely entitled
        to Chevron deference; whereas, here the provision at issue, 42 U.S. Code 265, needs
        to also be read in light of statutes that the CDC director quite plainly has no special
        expertise regarding, and also whereas, here the order does very little by way of an



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       analysis of what exactly the power to prohibit the introduction of persons and
       property means.

J.B.B.C. PI Ruling, Kang Decl., ECF No. 2-2, Ex. D at 49-51.

       A. Section 265 Does Not Authorize Deportations At All.

       The Title 42 Process has been created under the purported authority of 42 U.S.C. § 265, a

provision that has lain dormant and largely forgotten in the U.S. Code for over a hundred years.

Defendants claim to have discovered in this statute a source of unlimited authority to execute

summary deportations as they see fit, without regard for the carefully crafted policy judgments of

the Nation’s immigration laws. But when an agency claims to discover “an unheralded power”

lying dormant “in a long-extant statute,” courts “typically greet its announcement with a measure

of skepticism.” Util. Air Reg. Grp v. EPA, 573 U.S. 302, 324 (2014). And, indeed, this novel,

sweeping assertion of Executive dominance in the realm of immigration exceeds the power

granted by § 265. Nothing in § 265, or Title 42 more generally, purports to authorize any

deportations (much less deportations in violation of the specific protections described below,

infra Section I.B).

               1. The text, context, and structure of § 265 demonstrate that it does not
                  authorize deportations.

       Section 265 authorizes the CDC to prohibit the “introduction of persons” under certain

circumstances. It says nothing about any power to physically remove people from the United

States. Nor does a neighboring provision laying out the “penalties” for violation of “any

regulation prescribed” under § 265 make any mention of such expulsion authority. See 42

U.S.C. § 271. Instead, § 271 provides for fines and imprisonment of individuals for violation of

public health regulations. Nowhere in Title 42 does any statute mention the newly asserted




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power to deport, in the name of public health, independent of Congress’s carefully reticulated

immigration scheme.

       That silence speaks volumes. The Supreme Court has “long recognized that deportation

is a particularly severe ‘penalty.’” Padilla v. Kentucky, 559 U.S. 356, 365 (2010) (quoting Fong

Yue Ting v. United States, 149 U.S. 698, 740 (1893)). Thus, the extreme exercise of

governmental power involved in physically removing a person from the country is one that must

be granted by Congress, as “the Constitution creates no executive prerogative to dispose of the

liberty of the individual.” Valentine v. U.S. ex rel. Neidecker, 299 U.S. 5, 9 (1936) (holding that

extradition power “does not exist save as it is given by act of Congress” or a treaty).

       Such powers of physical removal from the country—whether called deportation, removal,

extradition, or expulsion—“must be affirmatively granted” by Congress. Id. at 12 (emphasis

added) (rejecting argument that power to extradite U.S. citizens could be implied from provision

stating that United States was not bound to extradite them). Accordingly, where Congress seeks

to authorize that extraordinary physical control, it does so in explicit terms. See, e.g., 8 U.S.C.

§ 1231 (immigration removals); id. § 1225(b)(2)(c) (“may return the alien” to contiguous

country); 18 U.S.C. §§ 3185, 3186, 3196 (extradition authority). Courts do not—and, given the

gravity of the asserted power, must not—lightly read an expulsion power into statutes that do not

explicitly grant it. Valentine, 299 U.S. at 12; cf. Util. Air Reg. Grp., 573 U.S. at 324 (“We expect

Congress to speak clearly if it wishes to assign to an agency decisions of vast economic and

political significance.”) (internal quotation marks omitted). Nowhere in Title 42 has Congress

granted that power.

       That is not to say that Congress has ignored public health considerations in crafting

immigration policy. To the contrary, from the earliest days of immigration regulation—




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predating the 1893 enactment of the predecessor to § 265—Congress has explicitly authorized

the deportation of individuals based on public health concerns. See Act of Mar. 3, 1891, ch. 551,

26 Stat. 1084, 1085. And similar statutes exist today. See 8 U.S.C. § 1182(a)(1) (“[h]ealth-

related grounds” of inadmissibility, including communicable diseases); 8 U.S.C. § 1222 (medical

detention and examination as part of immigration processing). Because courts “presume

differences in language like this convey differences in meaning[,]” particularly where

contemporaneous statutes address related issues, Congress’s decision to grant deportation power

in the immigration statutes but not in Title 42 is conclusive. See Wisc. Cent. Ltd. v. United

States, 138 S. Ct. 2067, 2071-72 (2018) (internal quotation marks omitted).

       Critically, § 265, the provision on which Defendants rely for their new power, could not

be read to authorize expulsions because that section refers only to “persons,” and in no way

differentiates between citizens and noncitizens. If the government is correct that § 265

authorizes expulsions, it would therefore mean that Congress gave the executive branch the

power to expel U.S. citizens as well as noncitizens. See Clark v. Martinez, 543 U.S. 371, 386

(2005) (rejecting “the dangerous principle that judges can give the same statutory text different

meanings in different cases” even if only some applications raise constitutional concerns). It is

inconceivable that Congress would seek to give the executive branch that (plainly

unconstitutional) power, must less that it would do so without any explicit statutory language.8




8
 Moreover, nothing in the text of § 265 would limit Defendants’ claim of an implied
enforcement regime to deportation. In theory, the government could assert an implied power for
even more extreme measures. See Merck & Co. v. U.S. Dep’t of Health & Human Servs., 962
F.3d 531, 540 (D.C. Cir. 2020) (rejecting agency’s “construction of the statute [which] would
seem to give it unbridled power”).


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               2. Section 265 Was Designed To Regulate Transportation.

       The omission of deportation authority from § 265 was no mistake. To the contrary, it

reflects Congress’s design of that statute—as a means to stop travel from countries experiencing

an outbreak of disease by regulating the transportation companies that bring people to the United

States. Section 7 of the Act of February 15, 1893, ch. 114, 27 Stat. 449, 452, which became

§ 265 without material change in the Public Health Service Act, Pub. L. 78-410, § 362, 58 Stat.

682, 704 (1944), was designed to regulate transportation entities that brought persons and goods

to the United States, and it imposed fines and imprisonment on such transportation entities if

they violated a public health order. See also Harrold Decl., Ex. A (copy of 1893 Act). If an

individual’s entry or presence was unlawful, the immigration system provided the sole

mechanism for returning the individual to his home country. Past practice bears out this design:

When § 265 was used in 1929 to combat meningitis, another deadly disease transmitted by

asymptomatic carriers via airborne respiratory droplets, deportation was not authorized. It

therefore makes sense that § 265 does not silently authorize a whole new deportation process,

devoid of the procedural protections Congress created for noncitizens, including for those with

communicable diseases. Defendants cannot now create such an unauthorized system out of

whole cloth. See Merck, 962 F.3d at 536 (agencies are “bound” by Congress’s choice of

“means”).

       a. The text of the 1893 provision demonstrates that the “means” Congress chose was the

regulation of transportation, not of individual travelers, and underscores that Congress never

authorized deportations. Section 7 of the 1893 Act granted the “power to prohibit, in whole or in

part, the introduction of persons and property” into the country. 27 Stat. 452 (emphasis added).

That term—“introduction”—meant then, as now, “‘the act of bringing into a country.’”




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Introduce, Universal English Dictionary 1067 (John Craig ed. 1861)); see also Introduce,

Webster’s Collegiate Dictionary 453 (1st ed. 1898) (“[t]o lead, bring, or usher in”). As a matter

of ordinary language and usage, introducing a person into a country or place is an action taken by

a third party—here, the shipping company. See, e.g., Walsh v. Preston, 109 U.S. 297, 298, 314,

315 (1883) (“colonization” contract requiring party to “introduce” immigrant families into Texas

was unsatisfied, where there was no evidence individuals who came “were brought to Texas by

[the party];” rather, “they came and settled of their own accord”). The plain text of § 265 is thus

directed not at individuals seeking to come to the United States, but rather those proposing to

bring such individuals here.

        b. The statutory context reinforces the plain text. The 1893 Act was shot through with

provisions specifically directed at the regulation of ships. See Act of Feb. 15, 1893, ch. 114, § 1

(unlawful for ships to enter U.S. ports from abroad except in accordance with public health

regulations); § 2 (requiring ships abroad to obtain a bill of health); § 3 (authorizing, inter alia,

regulation of “vessels sail[ing] from any foreign port or place”); § 4 (charging the Surgeon

General with, inter alia, obtaining sanitary information about foreign ports); § 5 (issuance of

regulations for, inter alia, “vessels in foreign ports,” and prohibition on vessels arriving without

a bill of health); § 6 (providing for “an infected vessel” to be “remand[ed]” to quarantine

station).

        Critically, the 1893 Act imposed penalties only against ships—and set them high enough

to deter those vessels from sailing to this country in violation of the Act. See id. § 1 ($5000.00

fine for “vessel” violating the Act); id. § 2 (same for “vessel” entering United States without bill

of health); see also id. § 3 (conditioning penalties on “any vessel or owner or officer thereof” on

posting of regulations in consular offices abroad); 24 Cong. Rec. 378 (raising penalties).




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       Furthermore, an examination of immigration statutes in force in 1893 makes plain that

Congress knew exactly how to provide for the removal of individuals. Those statutes covered

those coming by ship and individually by land, and explicitly authorized deportations, separate

and apart from regulations they imposed on ships involved in transporting immigrants. See, e.g.,

Chinese Exclusion Act of May 6, 1882, ch. 126, §§ 2, 12, 22 Stat. 58, 59, 61 (establishing

penalties for vessels, and separately providing for unauthorized immigrants “to be removed . . .

to the country whence [they] came”); Act of Mar. 3, 1891, ch. 551, §§ 10, 11, 26 Stat. 1084,

1086 (establishing penalties for “master, agent, consignee, or owner of” a “vessel” who violates

the Act’s provisions, and separately providing for unauthorized immigrants to “be immediately

sent back on the vessel by which they were brought in” and that “any alien who shall come into

the United States in violation of law may be returned”); id. § 8 (providing “the Secretary of the

Treasury may prescribe rules for inspection along the borders of Canada, British Columbia, and

Mexico”); Act of Mar. 3, 1903, ch. 1012, §§ 8, 9, 19, 20, 21, 32 Stat. 1213 1215-16, 1218-19,

1221 (providing for noncitizens to “be immediately sent back . . . on the vessels bringing them,”

“deported,” or “taken into custody and returned to the country whence he came”).

       It would have been “easy enough for Congress” to include the same kind of provisions in

the 1893 Act. Nasrallah v. Barr, 140 S. Ct. 1683, 1692 (2020). Instead, Congress imposed

penalties only on those involved in transportation, and used the term “introduction” to refer to the

penalty-triggering conduct of such third parties. But Congress said nothing about any power to

deport individuals who came to our shores. The government nevertheless now seeks to read into

the statute’s silence and implicit power to expel; but “it is not the proper role of the courts to

rewrite [a law] passed by Congress and signed by the President.” Id.




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       c. The legislative history of the 1893 Act further confirms what is demonstrated by the

text, context, and structure: Section 7 was a regulation of transportation entities.

       The 1893 Act responded to a specific public health threat—a cholera epidemic in Europe.

See, e.g., 24 Cong. Rec. 359 (1893) (letter from physician explaining the “considerable” danger

of an imminent cholera outbreak from Europe). A principal proponent of the 1893 Act, Senator

Chandler, explained that “90 or 95 percent of the immigration into the United States comes into

the city of New York, and that the most danger of cholera is to be apprehended from vessels

arriving at that port.” Id. at 360. He expressed confidence that controlling travel by ship would

effectively protect the country. Id. at 363 (“there will be no great danger of the introduction of

cholera this year unless it comes in the steerages,” a class of ship travel).

         As one of the 1893 Act’s sponsors, Senator Harris, further explained, Section 7

therefore allowed the President “to prevent the coming at all” of “vessels, passengers, crews, and

cargo, which are sailing to this country.” Id. at 392. Congress expected that an invocation of

Section 7 would cause shipping companies to refuse boarding, halting travel from designated

locations at the source, thereby addressing the public health risk.

       Indeed, when Senator Harris was asked about individuals crossing at land borders, he

explained that an earlier Act providing general authority to quarantine and inspect individuals—

not the new 1893 legislation—“clothes the Marine Hospital Service with ample power to protect

the Mexican and Canadian borders.” Id. at 370. The new authority to regulate transportation

entities was simply part of the larger framework already in place that included not just the

immigration laws but also the public health quarantine powers.

       d. The use of the statute since its enactment in 1893 reinforces the absence of any

deportation power. To Plaintiff’s knowledge, the only time the statute has been invoked to




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prohibit the introduction of persons was in 1929, and it did not authorize deportations.9

President Hoover issued an Executive Order invoking Section 7 of the 1893 Act to restrict the

“Transportation of Passengers” from China and the Philippines because of a meningitis outbreak.

Exec. Order No. 5143 (June 21, 1929), Harrold Decl., Ex. B. The Order provided that “no

persons may be introduced directly or indirectly, by transshipment or otherwise into the United

States” except as permitted by the Treasury Secretary. The use of passive voice—“may be

introduced”—makes clear that the Order was directed to third parties, namely transportation

companies. The Treasury Department also issued associated regulations “governing the

embarkation of passengers and crew” at ports in those countries “and their transportation to

United States ports.”10 The regulations further addressed how to handle vessels which arrived in

the United States when a meningitis case had occurred during the voyage, but, notably, only

authorized detention, quarantine, and testing—not deportation.

       e. Finally, any suggestion that the correct interpretation of § 265 renders that statute

ineffective would be seriously mistaken. Congress vested the government with a significant

power totally separate from any need to deport individuals from the country: shutting down all



9
  Most invocations of § 265 have involved regulation of goods or delegation of authority to
particular officers or agencies. In addition to the 1929 use of § 265, the provision has been
invoked, with additional statutory authorities, four other times to address persons. None of the
four purported to authorize deportations. One addressed the Do Not Board list, a mechanism to
control transportation access, and the Public Health Lookout, a means to refer individuals at
ports to CDC for isolation. Criteria for Requesting Federal Travel Restrictions for Public Health
Purposes, 80 Fed. Reg. 16,400 (Mar. 27, 2015). Another proposed, but unadopted, regulation
repeated the language of § 265 without elaboration. Control of Communicable Diseases, 70 Fed.
Reg. 71,891, 71,910 (Nov. 30, 2005). The two others addressed quarantine and information
gathering. Control of Communicable Diseases, 81 Fed. Reg. 54230 (Aug. 15, 2016); Control of
Communicable Diseases; Foreign Quarantine, 85 Fed. Reg. 7874 (Feb. 12, 2020).
10
  Regulations Governing the Embarkation of Passengers and Crew at Ports in China and the
Philippine Islands and Their Transportation to the United States Ports Prescribed in Accordance
with Executive Order Approved June 21, 1929, Harrold Decl., Ex. C.


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international transportation from a particular country by regulating those who made such travel

possible, the transportation companies. And, despite the age of the statute, that tool remains

powerful today: § 265 permits the government to halt the vast majority of international travel by

barring ships, planes, trains, and other modes of transportation from bringing people from

designated places to this country.

       The efficacy of that approach was clear from the beginning. The statute was passed

against the backdrop of an extraordinary Executive action taken just months before, in

September 1892. See U.S. Dep’t of Treasury, Quarantine Restrictions Upon Immigration to Aid

in the Prevention of the Introduction of Cholera into the United States (Sept. 1, 1892), Harrold

Decl., Ex. D. The Surgeon General explained that “vessels conveying” immigrants from certain

countries experiencing cholera outbreaks were a “direct menace to the public health,” and

ordered that “no vessel from any foreign port carrying immigrants shall be admitted” to any U.S.

port “until said vessel shall have undergone” 20 days of quarantine. Id. Contemporaneous

media coverage explained this step would “practically put a stop to immigration, for no

steamship company will continue to transport people to this country” given the costs of

quarantine. Twenty Days Quarantine, N.Y Times (Sept. 2, 1892).11 The crisis triggered

significant debate among the Cabinet as to the President’s authority to take such a drastic step

without clear statutory authority. See id. Shortly afterward, Congress enacted the 1893 Act

granting the authority to regulate vessels to prevent the spread of disease.

       Thus, while Congress’s goal was to keep out disease, the means it authorized was

regulation of transportation entities, not the deportation of individuals outside of the extensive



11
  https://www.nytimes.com/1892/09/02/archives/twenty-days-quarantine-the-government-takes-
decisive-action-a.html


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immigration system Congress has enacted and refined over the decades. Merck, 962 F.3d at 536

(“[A]gencies are bound, not only by the ultimate purposes Congress has selected, but by the

means it has deemed appropriate, and prescribed, for the pursuit of those purposes.”) (internal

quotation marks omitted). “The withholding of agency authority is as significant as the granting

of it, and we have no right to play favorites between the two.” Dir., Office of Workers’ Comp.

Programs, Dep’t of Labor v. Newport News Shipbuilding & Dry Dock Co., 514 U.S. 122, 136

(1995); see also A. Scalia & B. Garner, Reading Law: The Interpretation of Legal Texts 94

(2012) (“[A]n absent provision cannot be supplied by the courts.”).

                                          *       *      *

       In sum, § 265 authorizes no deportations at all. Rather, it provides authority to halt

transportation companies from introducing people from countries suffering an epidemic to the

United States, by, for example, ship, train, and, in modern times, aircraft.

      B. Section 265 Does Not Override the Immigration Laws’ Protections for
         Unaccompanied Children.

       Even if § 265 did authorize deportation in general, the specific protections Congress

enacted for unaccompanied children and those fleeing persecution prohibit the deportation of

members of the putative class. Congress has carefully and repeatedly enacted special safeguards

for unaccompanied children and persons fleeing persecution. These statutes contain specific

exceptions from their coverage, but no exception for communicable diseases or public health

crises. Section 265 must be read in conjunction with the specific protections for those groups.

       1. Congress has carefully and repeatedly worked to ensure that unaccompanied children

like the Class Members are afforded unique, mandatory, and protective procedures when they

face deportation. See Background, Part I. Defendants have jettisoned that entire statutory

scheme.


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       Congress included provisions in the HSA to “ensur[e] that the interests of the child are

considered in decisions and actions relating to the care and custody of an unaccompanied alien

child,” 6 U.S.C. § 279(b)(1)(B), vesting responsibility for the care of unaccompanied children,

including the provision of housing and access to legal services to pursue claims for immigration

relief, in an agency—ORR—that had demonstrated experience working with vulnerable

immigrants and refugees, id. § 279(a). Congress subsequently strengthened those protections in

the TVPRA by providing for important procedural safeguards before they could be removed.

See Background, Part A.

       Thus, Congress prescribed a careful and comprehensive set of directions to federal

agencies for how unaccompanied children should be processed and cared for upon their

apprehension. Among other protections, Congress required federal agencies to expeditiously

transfer children from noncontiguous countries, and children from contiguous countries after an

initial screening, to ORR custody. 8 U.S.C. § 1232(a)(4), 1232(b)(3). It then required ORR to

provide safe and secure placements for all children in its care, and to facilitate their release to

sponsors. 8 U.S.C. § 1232(c)(2)-(3). It prevented DHS from removing such children through

fast-track processes applicable to adults, 8 U.S.C. § 1232(a)(2)(A), id. § 1232(a)(5)(D)(ii), and

guaranteed their access to counsel, id. § 1232(c)(5). Through these provisions, Congress sought

to satisfy its domestic and international obligations to protect a uniquely vulnerable set of

children, who have claims for various forms of humanitarian protection. Indeed, the legislative

history of the TVPRA is replete with statements describing this country’s “special obligation to

ensure that [unaccompanied] children are treated humanely and fairly.” 154 Cong. Rec. S10886-

01, S1086, 2008 WL 5169970 (Dec. 10, 2008); see also 153 Cong. Rec. H14098-01, H14118

(Dec. 4, 2007) (discussing statute’s purpose of “provid[ing] critical immigration mechanisms to




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protect children”). Through their creation of an alternative immigration system, Defendants have

circumvented the carefully-drawn scheme Congress set forth for the treatment and care of

unaccompanied children.

       Unaccompanied children also have a right to seek protection from persecution and

torture, as Congress has long prescribed. As explained above, children—like others seeking

protection—are entitled to seek asylum, withholding, and CAT protection. See 8 U.S.C.

§§ 1158(a)(1), 1231(b)(3), 1231 Note. And Congress has taken steps to specially safeguard

unaccompanied children’s access to humanitarian protection, exempting them from various

limitations on asylum and providing them with access to a special non-adversarial proceeding.

See 8 U.S.C. §§ 1158(a)(2)(E), 1158(b)(3)(C).

       In short, Congress carefully crafted the statutory provisions governing asylum,

withholding, and CAT protection to ensure that noncitizens within our country or at the border

could seek relief from persecution. In so doing, Congress sought to satisfy its domestic and

international obligations to protect those fleeing persecution and torture. And, critically,

Congress enshrined procedural access to these forms of protection before a person—particularly

an unaccompanied child—can be deported from the country. The Title 42 Process jettisons all

those protections and safeguards, subjecting these children to summary deportation back to

persecution and torture.12




12
   The only humanitarian protection provided under the Title 42 Process is limited to CAT, and is
totally inadequate—especially for unrepresented unaccompanied children. Noncitizens are only
referred for a CAT screening if they “make an affirmative, spontaneous and reasonably
believable claim that they fear being tortured in the country they are being sent back to.” CBP
Memo 4 (emphasis added). This means that children must know precisely what to say when they
arrive in the U.S., and may be summarily returned to the countries they fled without the
government ever even asking whether they would face torture in that country.



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       2. The government has refused to provide these statutory protections to unaccompanied

children subject to the Title 42 Process because, in its view, the powers granted by § 265 render

the entire set of legislation regarding immigration irrelevant. But whatever Title 42 authorizes in

general, it cannot override the provisions of the immigration laws designed to ensure protection

for unaccompanied minors and those seeking protection, even where such individuals are

suspected of having a communicable disease.

       Such an interpretation would violate numerous canons of statutory construction. As with

all potential conflicts, the Court must read § 265 and the child protection and refugee statutes

together, to make sense of all Congress’s work without discarding any of it. See FDA v. Brown

& Williamson Tobacco Corp., 529 U.S. 120, 143 (2000) (“The classic judicial task of reconciling

many laws enacted over time, and getting them to make sense in combination, necessarily

assumes that the implications of a statute may be altered by the implications of a later statute.”)

(internal quotation marks omitted). Thus, as Judge Bybee explained in another asylum case, “the

President may not ‘override particular provisions of the INA’ through the power granted him in”

8 U.S.C. § 1182(f), despite the breadth of language in that emergency provision. East Bay

Sanctuary Covenant v. Trump, 932 F.3d 742, 760 (9th Cir. 2018) (quoting Trump v. Hawaii, 138

S. Ct. 2392, 2411 (2018)).




        Unsurprisingly, this screening offers essentially no protection: As of May 27, 2020, out
of thousands of expulsions under Title 42, Defendants reportedly conducted a mere 85 screening
interviews for CAT, of which only four applicants passed the screening stage. Camilo Montoya-
Galvez, As Trump pushes to reopen, U.S. continues expelling migrants at border, citing
pandemic, CBS News (June 1, 2020), https://www.cbsnews.com/news/as-trump-pushes-to-
reopen-u-s-officials-continue-border-expulsion-policy-citing-pandemic. Advocates working
with unaccompanied children report that children typically do not receive CAT assessments until
a lawyer intervenes; until then, the child may not even be aware that such an assessment is
available. See Corchado Decl., ¶¶ 13-14; Frydman Decl., ¶ 32; Levy Decl., ¶ 6.


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       So too with § 265. As Judge Nichols explained in finding a likelihood of success on the

merits of this claim, § 265 “should be harmonized, to the maximum extent possible, with

immigration statutes, including those . . . that grant special protections to minors and also those

immigration statutes that deal with communicable diseases and quarantines.” J.B.B.C. PI Ruling,

Kang Decl., Ex. D at 50. Even if § 265 could be read to authorize some summary deportations

(which it cannot), it must be read to accommodate Congress’s subsequent specific legislative

commands. See Indep. Ins. Agents of Am., Inc. v. Hawke, 211 F.3d 638, 643 (D.C. Cir. 2000)

(“A broad statute when passed ‘may have a range of plausible meanings,’ but subsequent acts

can narrow those meanings . . . .”) (quoting Brown & Williamson, 529 U.S. at 143).

       Moreover, the specific should be read to control over the general. See, e.g., Air All.

Houston v. EPA, 906 F.3d 1049, 1061 (D.C. Cir. 2018) (“[A]n agency may not circumvent

specific statutory limits on its actions by relying on separate, general rulemaking authority.”).

The TVPRA embodies Congress’s focus on a particularly vulnerable group of noncitizens

seeking safety in this country. It is “a precisely drawn, detailed statute,” Brown v. GSA, 425 U.S.

820, 834 (1976), that comprehensively delineates what the government must do before it seeks to

remove an unaccompanied child. By contrast, § 265 says nothing at all about removal; or children;

or steps the government must take or may skip. The general terms of § 265 cannot be construed to

bypass the specific provisions of the TVPRA. See Radzanower v. Touche Ross & Co., 426 U.S.

148, 159 n.2 (1976) (explaining that “the more specific legislation will usually take precedence

over the more general”); cf. Clinton v. City of New York, 524 U.S. 417, 443 (1998) (holding

Congress may not give the President “the power to cancel portions of a duly enacted statute”).

This interpretive principle has particular force where the more specific statute is the later-enacted

one; that is the case here, as all the child protective and refugee statutes postdate § 265. See




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United States v. Juvenile Male, 670 F.3d 999, 1008 (9th Cir. 2012) (explaining that “[w]here two

statutes conflict, the later-enacted, more specific provision generally governs”). Recent

Congresses have spoken clearly and explicitly regarding the required treatment of

unaccompanied minors; the Executive is not at liberty to ignore those commands.

                                         *       *      *

       For decades, Congress—fully aware that exigent circumstances might emerge—has

enacted and reinforced unique protections for vulnerable children and asylum seekers, including

those with communicable diseases, subject to narrow exceptions not applicable here. Congress

has, moreover, specifically chosen not to erase those protections even for those with diseases,

relying instead on quarantine as the proper way to balance health concerns and the safety of

children and those fleeing danger. To permit Defendants to obliterate those protections would

“contradict Congress’ clear intent as expressed in its more recent, [child and asylum seeker]

specific legislation.” Brown & Williamson, 529 U.S. at 143. If there is to be a public health

exception to those critical protections, Congress must be the Branch to enact it.

       C. Defendants’ Actions Are Arbitrary and Capricious.

       Defendants’ application of the Title 42 Process to unaccompanied children is also

arbitrary and capricious for failure to “engage in ‘reasoned decisionmaking’” as the APA

requires. Dep’t of Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891, 1905

(2020) (quoting Michigan v. EPA, 576 U.S. 743, 750 (2015)). Specifically, Defendants have

provided no reasoned explanation for their actions. Nowhere do any of the documents setting

forth the Title 42 Process offer any reasoned explanation for applying the Process to

unaccompanied children, including those fleeing abuse, persecution, and torture. “An agency




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action that lacks explanation is a textbook example of arbitrary and capricious action.” Mori v.

Dep’t of the Navy, 917 F. Supp. 2d 60, 64 (D.D.C. 2013).

       This new deportation system represents an extraordinary break from prior agency policy

and practice with regard to unaccompanied children. Defendants have long recognized their

mandatory obligations under the TVPRA to transfer unaccompanied minors into ORR custody

and refer them to full removal proceedings under 8 U.S.C. § 1229a. As the D.C. Circuit recently

reiterated, “reasoned decision-making requires that when departing from precedents or practices,

an agency must offer a reason to distinguish them or explain its apparent rejection of their

approach.” Grace v. Barr, 965 F.3d 883, 900 (D.C. Cir. 2020) (internal quotation marks and

alterations omitted). But the CDC Orders and the promulgated regulations do not even

acknowledge that the Process will be applied to unaccompanied children, much less justify the

decision to begin summarily removing such children. Nor do the Orders or regulations anywhere

“grapple with how the new policy affected . . . [Defendants’] statutory mandate” to protect

unaccompanied children. Id. at 901 (internal quotation marks and alterations omitted). “An

agency may not . . . depart from a prior policy sub silentio or simply disregard rules that are still

on the books.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009).

       Relatedly, Defendants have “entirely failed to consider . . . important aspect[s] of the

problem.” Motor Vehicle Mfrs. Assn. of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

43 (1983). In the Orders and regulations, Defendants are silent on the Process’s impact on

unaccompanied children and those seeking protection. CDC’s reasoning does not address that it

is keeping children from seeking protection and is returning them to danger, contrary to the

TVPRA and protection statutes. Nat’l Lifeline Ass’n v. FCC, 921 F.3d 1102, 1112-13 (D.C. Cir.




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2019) (finding action arbitrary and capricious where it “failed to address the problem that would

be created as a result” of its conduct).

        Publicly-available information concerning Defendants’ implementation of the Title 42

Process underscores its irrationality. For one, DHS selectively exempts certain noncitizens from

the Title 42 Process when it chooses, without any public health-related justification for those

exemptions. CBP’s Implementation Memo states that individuals with certain criminal histories

must be removed from the Title 42 Process and placed into the ordinary immigration and

criminal system. See CBP Memo at 3 (exempting those with certain criminal convictions as

“[s]ubjects not amenable to being expelled”). Defendants cannot claim that having a prior

conviction makes one less likely to transmit COVID-19, yet they choose to detain such

individuals in ICE custody (presumably for lengthy periods), rather than expel them. Yet they

refuse to exempt unaccompanied children. Moreover, public reports show that Defendants are

testing every unaccompanied child for COVID-19 prior to expulsion, because their deportation

agreements with receiving countries forbid them from expelling children who are positive for

COVID-19. Harrold Decl., Ex. G (ProPublica article). It is irrational to ban children from this

country because of COVID-19, but expel only those children who are free of infection.13

II.     SUBJECTING UNACCOMPANIED CHILDREN TO THE TITLE 42 PROCESS
        HAS CAUSED AND WILL CONTINUE TO CAUSE THEM IRREPARABLE
        HARM.

        Plaintiff P.J.E.S.’s experiences are emblematic of the experiences of the children in the

Proposed Class. He is a sixteen-year-old boy of indigenous Mayan ancestry. His father was




13
   The Title 42 Process is arbitrary and capricious for other reasons as well, including that it
“runs counter to the evidence before the agency.” State Farm, 463 U.S. at 43. In the interest of
obtaining interim relief, Plaintiff does not rely on those other reasons in this Motion, but will do
at later stages of this case, once the administrative record has been produced.


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targeted because of his political views, and had to flee Guatemala to escape threats on his life.

Escobar Francisco Decl., ¶¶ 2-7. P.J.E.S. has similarly been targeted for numerous reasons. Id.,

¶¶ 8-9. Once he came to the United States, he was detained for several days and was facing

imminent deportation, before his immigration lawyers and undersigned counsel learned of him.

See Stefaniak Decl., ECF No. 2-4, ¶ 3; Escobar Francisco Decl., ¶ 10. Only after counsel’s

intervention did Defendants voluntarily take him out of the Title 42 Process and transfer him to

ORR; he has since begun the process of reunifying with his father in this country. Otherwise, he

would have been sent summarily back to Guatemala without any meaningful opportunity to

assert his claims for relief, and where he would have faced grave harm from those he sought to

escape.

          The experiences of other immigration lawyers and advocates, confirmed by news reports

and other public sources, demonstrate that P.J.E.S.’s story is typical. See Frydman Decl., ¶¶ 26-

32; Corchado Decl., ¶¶ 5-14; Levy Decl., ¶¶ 3-6; see also Kang Decl., ECF No. 2-2, ¶¶ 2-11 &

Exs. A-C. Their clients are other unaccompanied children who come to the United States

seeking protection. Most, if not all, of them have bona fide claims for humanitarian relief,

including asylum, trafficking-related relief, or visas available to young people who have

experienced abuse, abandonment, or neglect at the hands of their parents. See Frydman Decl., ¶¶

5-20; Corchado Decl., ¶¶ 6-13; Levy Decl., ¶ 6; see also Declaration of Chris Palusky (“Palusky

Decl.”), ¶ 4. When they come to this country seeking help, children are housed in unknown

hotels or CBP locations, with strict limits on their access to relatives or counsel. They are then

deported in a matter of days or weeks. See Monitor Report at 12, Harrold Decl., Ex. H

(describing lengths of custody for children subject to Title 42); Kang Decl., ECF No. 2-2, ¶¶ 2-

11 & Exs. A-C.




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        Lawyers in the United States sometimes hear of unaccompanied children’s cases only

after the child has already been expelled back to danger. They have been returned to dangerous

circumstances, often with limited resources and family support, where they may be unable to

avoid serious harm or even death. Frydman Decl., ¶¶ 21-25.

        Moreover, many unaccompanied children in the Title 42 Process come from El Salvador,

Guatemala, and Honduras, which are widely recognized as being among the most dangerous

countries in the world, particularly for children. Frydman Decl., ¶¶ 5-20. The U.S. Department

of State has itself acknowledged that extreme gang violence is prevalent in these countries,

including homicide, torture, kidnapping, extortion, or other forms of persecution. See, e.g., U.S.

Dept’ of State, 2019 Country Reports on Human Rights Practices: Guatemala at 18, 28,

https://www.state.gov/wp-content/uploads/2020/02/GUATEMALA-2019-HUMAN-RIGHTS-

REPORT.pdf (describing that gangs coerce vulnerable children to joining them and exploit

children in sex trafficking).14

        These facts more than satisfy the preliminary injunction standard, which requires “only a

likelihood of irreparable injury.” League of Women Voters of U.S. v. Newby, 838 F.3d 1, 8-9

(D.C. Cir. 2016) (preliminary injunction request). Numerous courts have held that similar

showings suffice to show irreparable injury. See, e.g., Grace v. Whitaker, 344 F. Supp. 3d 96,

146 (D.D.C. 2018), aff’d in part, rev’d in part on other grounds sub nom., Grace v. Barr, 965

F.3d 883 (D.C. Cir. 2020) (finding fear of “domestic violence, beatings, shootings, and death in



14
  See also U.S. Dept’ of State, 2019 Country Reports on Human Rights Practices: Honduras at
1-2, https://www.state.gov/wp-content/uploads/2020/02/ HONDURAS-2019-HUMAN-
RIGHTS-REPORT.pdf (describing extreme gang violence directed at vulnerable populations,
including “acts of homicide, torture, kidnapping, extortion, human trafficking, intimidation, and
other threats”); U.S. Dept’ of State, 2019 Country Reports on Human Rights Practices: El
Salvador at 1, https://www.state.gov/wp-content/uploads/2020/02/EL-SALVADOR-2019-
HUMAN-RIGHTS-REPORT.pdf (similar).


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their countries of origin” constitute irreparable injury); Demjanjuk v. Holder, 563 F.3d 565, 565

(6th Cir. 2009) (granting stay for noncitizen who asserted removal would violate CAT); Devitri

v. Cronen, 289 F. Supp. 3d 287, 296–97 (D. Mass. 2018) (risk of persecution if removed is

irreparable harm); Orantes-Hernandez v. Meese, 685 F. Supp. 1488, 1504–05 (C.D. Cal. 1988)

(plaintiffs would suffer irreparable harm if they were summarily removed without being afforded

opportunity to exercise their right to apply for asylum); see also J.B.B.C. PI Ruling, Kang Decl.,

ECF No. 2-2, Ex. D at 51 (Judge Nichols finding that unaccompanied child had shown “he is

likely to suffer irreparable harm in the absence of an order” staying his expulsion under Title 42);

And there is “a public interest in preventing aliens from being wrongfully removed . . . to

countries where they are likely to face substantial harm.” Nken v. Holder, 556 U.S. 418, 436

(2009).

III.      THE BALANCE OF HARMS AND THE PUBLIC INTEREST BOTH WEIGH
          DECIDEDLY IN FAVOR INJUNCTIVE RELIEF FOR CLASS MEMBERS.

          Preventing Defendants from removing unaccompanied children until final disposition of

this case would not substantially injure the government for several reasons.

          First, unaccompanied children referred to ORR care are typically released to sponsors

under the TVPRA, which in most cases will be a parent or close relative who can ensure the

child will self-quarantine as needed and will be subject to local health restrictions. Insofar as

children must spend short periods in ORR’s juvenile facilities before release, that network can

deal with communicable diseases. See Palusky Decl., ¶¶ 5-7; Monitor Report at 19 n.12, Harrold

Decl., Ex. H. Moreover, the ORR shelter network is currently operating at a very small fraction

of its total capacity, meaning that quarantine and social distancing measures are feasible in those

facilities. See Kang Decl., ECF No. 2-2, Ex. B; see also Palusky Decl., ¶¶ 3-5. And again,

Defendants apparently have the capacity to test all unaccompanied children in their care prior to



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expulsion. See Harrold Decl., Ex. G (ProPublica article). If so, there is no reason why they

cannot do so before sending them to ORR custody, to further minimize the risk of infection in

ORR facilities.

       Second, contrary to the CDC Orders’ stated justifications, the Title 42 Process does not

make DHS officers safer, and in fact, likely increases any potential exposure. Under the

TVPRA, juveniles like Plaintiff must be transferred to ORR or a sponsor within 72 hours, see 8

U.S.C. § 1232(b)(3)—and can often be transferred much faster. Yet deporting children under

Title 42 generally takes DHS longer than that, due to the need to make travel arrangements and

obtain any necessary travel permissions. Monitor Report at 8, Harrold Decl., Ex. H (explaining

that, under Title 42 Process, unaccompanied children “routinely spend multiple days temporarily

housed in hotels”); id. at 11 (describing “[o]ne unaccompanied minor had been held in a hotel for

11 days”).

       Third, public health officials have overwhelmingly noted there are numerous safety

measures that can be taken to avoid the spread of COVID-19, including quarantines.15 See

Declaration of Les Roberts & Stephen P. Kachur, ¶¶ 10-16. The CDC Orders do not reach a

different conclusion, but note only that in the government’s view it is not worth the resources or

not worth trying to safely process asylum seekers. See, e.g., 85 Fed. Reg. at 17067 (speculating

that brief detention of noncitizens in Border Patrol stations would “divert [healthcare] resources

away from the domestic population”). Thus, the Administration has chosen to de-prioritize those

fleeing danger, even as it permits or even encourages large recreational activities (such as beach

outings), air travel by tens of thousands of foreign visitors, and other events and activities.


15
  Letter to HHS Secretary Azar and CDC Director Redfield Signed by Leaders of Public Health
Schools, Medical Schools, Hospitals, and Other U.S. Institutions, Columbia Mailman School of
Public Health (May 18, 2020), https://tinyurl.com/y8q3asun.


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                                        CONCLUSION

       For these reasons, the Court should provisionally certify the proposed Class, issue a

classwide preliminary injunction, and enjoin Defendants from applying the Title 42 Process to

the Class.




Dated: August 20, 2020                          Respectfully submitted,

                                                 /s/Lee Gelernt_____________________
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                                                 **Pro hac vice application pending
                                                 ***Pro hac vice application forthcoming




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 20, 2020, I electronically filed the foregoing document

with the Clerk of the Court for the United States District Court for the District of Columbia by

using the CM/ECF system. Counsel for Defendants in this case are registered CM/ECF users

and service will be accomplished by the CM/ECF system.



                                                             By: /s/ Lee Gelernt__
                                                             LEE GELERNT




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